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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION

ANGELA MOODY                                                                             PLAINTIFF


v.                                      No.: 4:22-CV-330-JM


JAMES R. FLENS, Ph.D.                                                                 DEFENDANT


                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


         Comes, Defendant, James R. Flens, Ph.D., pursuant to Rule 56 of the Federal Rules of Civil

Procedure, for his Motion for Summary Judgment, states:

         1.      The material facts are not in dispute.

         2.      Ms. Moody has brought this action against Dr. Flens alleging wrongdoing relating

to statements he made in a Consultant Report that he issued after being retained by Ms. Moody’s

ex-husband as an expert in the Moodys’ divorce proceedings.

         3.      Dr. Flens issued his Consultant Report on September 3, 2017.

         4.      The report contained his professional opinion that a child custody evaluation would

be beneficial to help address issues relating to the legal and physical custody of the Moodys’ minor

child.

         5.      Ms. Moody first brought suit on September 20, 2020, more than there years after

Dr. Flens’s report was published.

         6.      She did not assert a claim for outrage in her first action, and her claim for outrage

was never commenced.
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          7.      Dr. Flens came to his opinions by reviewing records totaling over 1900 pages

provided to him by the counsel for Ms. Moody’s ex-husband.

          8.      He was asked to review these records and determine whether a child custody

evaluation would be appropriate in the divorce proceeding.

          9.      He concluded that such evaluation would be appropriate.

          10.     He was asked to, and did, reduce his opinion to a written report.

          11.     Ms. Moody’s ex-husband attempted to use his report in their divorce proceedings.

          12.     Dr. Flens testified at deposition in the divorce proceedings.

          13.     Dr. Flens listed three issues and overarching concern that outlined why he believed

a child custody evaluation would be beneficial.

          14.     For each of the issues and the concern, Dr. Flens included examples that were either

direct quotations from or his summaries of documents he reviewed.

          15.     Those records were primarily filings within the Moodys’ divorce proceedings or

testimony from depositions or hearings in that matter. Other records included filings in other

litigation involving the Moodys and over 400 pages of text messages between them.

          16.     Dr. Flens did not conduct any independent investigation to determine the accuracy

of the information included in the records.

          17.     Ms. Moody’s claims are barred by the statute of limitations as she filed her first

action more than three years after he published his Consultant Report.

          18.     Any claim not included in the original action is barred because those claims were

never commenced and are not entitled to the protection of the Arkansas savings statute.

          19.     Ms. Moody cannot present expert testimony to meet her burden to prove a medical

injury.


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         20.    Ms. Moody cannot show that Dr. Flens owed her some duty, an essential element

of her claim for negligence.

         21.    Dr. Flens did not make false statements of fact about Ms. Moody.

         22.    She cannot demonstrate reputational injury, an essential element of her defamation

claim.

         23.    Dr. Flens is absolutely privileged for the statements made in his deposition and in

his Consultant Report.

         24.    Ms. Moody’s allegations are not sufficient to set forth a claim for outrage under

Arkansas law.

         25.    Dr. Flens is entitled to judgment as a matter of law and summary judgment is

appropriate.

         26.    In support of his Motion, Dr. Flens relies on the following:

                a. Exhibit A – Complaint, Angela Moody v. James R. Flens, Circuit Court of
                   Pulaski County, Arkansas, Case No. 60CV-17-5247;

                b. Exhibit B – January 21, 2021, Letter from Court;

                c. Exhibit C – Defendant’s Motion to Dismiss;

                d. Exhibit D – Dismissal Order Without Prejudice;

                e. Exhibit E – Complaint, Angela Moody v. James R. Flens, Ph.D., Circuit Court
                   of Pulaski County, Arkansas, Case No. 60CV-22-656;

                f. Exhibit F – Return of Service;

                g. Exhibit G – Answer;

                h. Exhibit H – Notice of Filing of Notice of Removal;

                i. Exhibit I – Consultant Report;

                j. Exhibit J – Deposition Testimony of Angela Moody;


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              k. Exhibit K – Temporary Order of November 18, 2011;

              l. Exhibit L – Decree of Divorce; and

              m. Exhibit M – Deposition Testimony of James R. Flens.

                                            Respectfully Submitted,

                                            Todd Wooten (ABN 94034)
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                                            Attorneys for Defendant,
                                            James R. Flens, Ph.D.


                               CERTIFICATE OF SERVICE

       I, Todd Wooten, do hereby certify that on March 9, 2023, I served a copy of the foregoing
pleading with the Court via the CM/EFC system which will send notification of such filing to all
counsel of record.

                                            Todd Wooten




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